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AO 245B (Rev. 09/19) Judgment in a Criminal Case

                                         UNITED STATES DISTRICT COURT
                                                      Southern District of Indiana

               UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE

                                    v.
                                                                     Case Number: 1:24CR00143-001
                                                                     USM Number: 33867-511

                           JAMES WATT
                                                                     Julie Treida and Robert Hammerle
                                                                     Defendant’s Attorney



THE DEFENDANT:
☒ pleaded guilty to count(s) 1 and 2
☐ pleaded nolo contendere to count(s) which was accepted by the court.
☐ was found guilty on count(s) after a plea of not guilty
The defendant is adjudicated guilty of these offense(s):
Title & Section                          Nature of Offense                                      Offense Ended              Count
18 U.S.C. § 1028(a)(1)                   Unlawful Production of Document or Authentication      February 16, 2023              1
                                         Feature
18 U.S.C. § 1957                         Money Laundering                                       October 30, 2020                 2

        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s) dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.



                                                                        January 23, 2025
                                                                        Date of Imposition of Sentence:




                         Date: 1/27/2025
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                                                           PROBATION

         The defendant shall serve concurrent terms of 3 years on each of Counts 1 and 2.

                                                 MANDATORY CONDITIONS
    1.   You shall not commit another federal, state, or local crime.
    2.   You shall not unlawfully possess a controlled substance.
    3.   You shall refrain from any unlawful use of a controlled substance. You shall submit to one drug test within 15 days of
         release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                   ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
                   future substance abuse. (check if applicable)
    4.   ☐ You shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
         of restitution. (check if applicable)
    5.   ☒ You shall cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
    6.   ☐ You shall comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
         where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
    7.   ☐ You shall participate in an approved program for domestic violence. (check if applicable)

       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the conditions listed below.

                                                CONDITIONS OF SUPERVISION

    1. You shall report to the probation officer in a manner and frequency directed by the court or probation officer.

    2. You shall permit a probation officer to visit you at a reasonable time at home or another place where the officer
       may legitimately enter by right or consent, and shall permit confiscation of any contraband observed in plain view
       of the probation officer.

    3. You shall not knowingly leave the federal judicial district where you are being supervised without the permission
       of the supervising court/probation officer.

    4. You shall answer truthfully the inquiries by the probation officer, subject to your 5th Amendment privilege.

    5. You shall not meet, communicate, or otherwise interact with a person you know to be engaged, or planning to be
       engaged, in criminal activity. You shall report any contact with persons you know to be convicted felons to your
       probation officer within 72 hours of the contact.

    6. You shall reside at a location approved by the probation officer and shall notify the probation officer at least 72
       hours prior to any planned change in place or circumstances of residence or employment (including, but not
       limited to, changes in who lives there, job positions, job responsibilities). When prior notification is not possible,
       you shall notify the probation officer within 72 hours of the change.

    7. You shall not own, possess, or have access to a firearm, ammunition, destructive device or dangerous weapon.

    8. You shall notify the probation officer within 72 hours of being arrested, charged, or questioned by a law
       enforcement officer.

    9. You shall maintain lawful full time employment, unless excused by the probation officer for schooling, vocational
       training, or other reasons that prevent lawful employment.
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    10. You shall make a good faith effort to follow instructions of the probation officer necessary to ensure compliance
        with the conditions of supervision.

    11. You shall not use or possess any controlled substances prohibited by applicable state or federal law, unless
        authorized to do so by a valid prescription from a licensed medical practitioner. You shall follow the prescription
        instructions regarding frequency and dosage.

    12. You shall not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances
        (e.g., synthetic marijuana, bath salts, Spice, glue, etc.) that impair a person’s physical or mental functioning,
        whether or not intended for human consumption.

    13. You shall submit to substance abuse testing to determine if you have used a prohibited substance or to determine
        compliance with substance abuse treatment. Testing may include no more than 8 drug tests per month. You shall
        not attempt to obstruct or tamper with the testing methods.

    14. You shall participate in a substance abuse or alcohol treatment program approved by the probation officer and
        abide by the rules and regulations of that program. The probation officer shall supervise your participation in the
        program (provider, location, modality, duration, intensity, etc.). The court authorizes the release of the
        presentence report and available evaluations to the treatment provider, as approved by the probation officer.

    15. You shall not use or possess alcohol.

    16. You shall participate in a mental health treatment program, as approved by the probation officer, and abide by the
        rules and regulations of that program. The probation officer, in consultation with the treatment provider, shall
        supervise participation in the program (provider, location, modality, duration, intensity, etc.). You shall take all
        mental health medications that are prescribed by your treating physician. The court authorizes the release of the
        presentence report and available evaluations to the treatment provider, as approved by the probation officer.

    17. You shall pay the costs associated with the following imposed conditions of supervised release, to the extent you
        are financially able to pay: mental health evaluation and treatment. The probation officer shall determine your
        ability to pay and any schedule of payment.

    18. You shall provide the probation officer access to any requested financial information and shall authorize the
        release of that information to the U.S. Attorney’s Office for use in connection with the collection of any
        outstanding fines and/or restitution.

    19. You shall submit to the search by the probation officer of your person, vehicle, office/business, residence, and
        property, including any computer systems and hardware or software systems, electronic devices, telephones, and
        Internet-enabled devices, including the data contained in any such items, whenever the probation officer has a
        reasonable suspicion that a violation of a condition of supervision or other unlawful conduct may have occurred
        or be underway involving you and that the area(s) to be searched may contain evidence of such violation or
        conduct. Other law enforcement may assist as necessary. You shall submit to the seizure of contraband found by
        the probation officer. You shall warn other occupants these locations may be subject to searches.

I understand that I and/or the probation officer may petition the Court to modify these conditions, and the final decision to
modify these terms lies with the Court. If I believe these conditions are being enforced unreasonably, I may petition the
Court for relief or clarification; however, I shall comply with the directions of my probation officer unless or until the
Court directs otherwise. Upon a finding of a violation of probation or supervised release, I understand that the court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the condition of supervision.
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These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)
                          Defendant                                                          Date


                          U.S. Probation Officer/Designated Witness                          Date
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                                                  CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set
forth in this judgment.

                    Assessment                  Restitution     Fine      AVAA Assessment*          JVTA Assessment**

TOTALS                 $200.00                                $1,000.00

☐ The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO245C) will be
  entered after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
   3664(i), all nonfederal victims must be paid before the United States is paid.

      Name of Payee                 Total Loss***               Restitution Ordered              Priority or Percentage




Totals


☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
  full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
  on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☒ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☒ the interest requirement is waived for the ☒ fine ☐ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:



* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payment of $ _____ due immediately, balance due
        ☐      not later than _____, or
        ☐      in accordance with       ☐ C, ☐ D, ☐ E, or ☐ F below; or

B     ☒ Payment to begin immediately (may be combined with ☐ C, ☐ D, ☐ F or ☐ G below); or

C     ☐ Payment in equal ____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or
        years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or
        years), to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ☐ If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
        restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the amount
        of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.

G     ☐ Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐         Joint and Several

 Defendant and Co-Defendant                     Total Amount              Joint and Several Amount               Corresponding Payee
  Names and Case Numbers
    (including defendant number)




☐         The defendant shall pay the cost of prosecution.

☐         The defendant shall pay the following court cost(s): _____

☒         The defendant shall forfeit the defendant’s interest in the following property to the United States:
          • $4,899.00 U.S. Currency (Asset Identification No. 23-USP-000952);
          • Fourteen (14) miscellaneous pieces of silver (Asset Identification No. 23-USP-001051);
          • 13.38955552 Bitcoin (Asset Identification No. 23-USP-001154);
          • 0.03851831 Bitcoin (Asset Identification No. 23-USP-001165);

          • Electronic equipment
                   o Roland Versa UV LEF-12 UV Printer
                   o Rollo Shipping Label Printer x1038
                   o Moto G Stylus 5G
                   o Lenovo IdeaPad 3-15 S/N PF32AN34
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                   o HP Envy x360 Laptop S/N BCG836697H
                   o HP Envy x360 Laptop S/N BCG630004FX
                   o Dell OptiPlex 7020 S/N 6FD4052
                   o Dell OptiPlex 7060 S/N 2KYZLN2
                   o Epson SC P700 Printer S/N X7X2010251
                   o Epson SC P700 Printer S/N X7X2005338
                   o Lexos Thumb Drive
                   o Various USB Drives found in Room E in Ziploc bag
                   o Lexos 16GB Thumb Drive
                   o 128 GB Lexon Thumb Drive
                   o USB flash drive
            (Collectively, Asset Identification Number: 23-USP-001348)

         • Fake IDs and fake ID manufacturing materials
                  o 3 ID Presses
                  o Invisible UV Ink (One Box)
                  o USPS Shipping Labels
                  o James Watt IDs-Multiple States
                  o Various State Holographic Print Outs w/ State Indentations
                  o ID Viking ID
                  o James Watt Iowa Fake ID
                  o Partially Finished Fraud IDs
           (Collectively, Asset Identification Number: 23-USP-001349)

         • Miscellaneous documents and notebooks seized from James Watt’s residence.
                  o Misc. docs found within Room E
                  o Purple Notebook ledger
                  o Notebook with Cryptocurrency Information and Passwords
           (Collectively, Asset Identification Number: 23-USP-001350)


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.
